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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 MFB FERTILITY INC.,                     )
 a Colorado corporation,                 )
                                         )        Case No. 1:20-cv-07833
                     Plaintiff,          )
                                         )        Honorable John F. Kness
          v.                             )
                                         )    Magistrate Judge M. David Weisman
 EASY HEALTHCARE CORPORATION,            )
 an Illinois Corporation,                )
                                         )
                     Defendant.          )



 DEFENDANT EASY HEALTHCARE CORPORATION’S MEMORANDUM OF LAW
           IN SUPPORT OF MOTION FOR SANCTIONS UNDER
        RULE 11 OF THE FEDERAL RULES OF CIVIL PROCEDURE




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         Pursuant to Federal Rule of Civil Procedure 11, Defendant Easy Healthcare Corporation

(“Easy Healthcare” or “Defendant”), by and through its undersigned counsel, respectfully moves

this Court to award sanctions against counsel for Plaintiff MFB Fertility, Inc. (“MFB”) and/or

against MFB.

I.       INTRODUCTION

         This is a rare but clear instance where Rule 11 sanctions are warranted. MFB filed its

Complaint (the “Complaint” or “Compl.”) for the improper purpose of preventing a potential

competitor from entering the market just as the noncompetition obligations under the Parties’

Exclusive Distribution Agreement (“Distribution Agreement”) were expiring. The operative

factual allegations in the Complaint lack evidentiary support―and are, indeed, knowingly false.

The Seventh Circuit has admonished litigants against using the great power and machinery of the

federal courts in such an abusive manner, and the Court should order MFB’s counsel to pay all of

Easy Healthcare’s fees and costs incurred in defending this meritless and improper litigation.

         The false allegations in the Complaint, which purport to form the very basis of MFB’s

claims, include the following:

    Defendant “continued to maintain listings on Amazon of a Competing Product” (Compl. ¶ 38
     (Dkt. No. 1)). MFB’s counsel knows that the now-removed Amazon listings were defunct
     listings for an MFB-made product and there is no evidence supporting this false allegation.

    Defendant “purposely maintained these Amazon listings so as to misrepresent that it had PdG
     products to sell” (Id. ¶ 39). MFB’s counsel knows that the listings were simply defunct listings
     for an MFB-made product and that Easy Healthcare removed the listings at MFB’s request.

    Defendant “had maintained its Amazon listings in a manner confusingly similar to the MFB
     listings” (Id. ¶ 41). MFB’s counsel knows that the listings were not “confusingly similar” to
     the MFB listings―they were listings for the MFB-made product Easy Healthcare sold
     pursuant to the Distribution Agreement. There is no evidence to the contrary.

    Defendant “also continued to maintain and engage in paid advertising for listings related to
     PdG tests on Amazon.com, Walmart.com, Easy@Home website and elsewhere” and

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    “maintained and updated these listings at least as late as November 2020” (Id. ¶ 43). This is
    purely false and invented from whole cloth. Easy Healthcare has never paid to advertise any
    PdG tests other than MFB’s, and MFB’s counsel has no evidence supporting this falsehood.

   “Easy Healthcare’s Amazon Listings Misrepresent That It Can Sell a PdG Test That is ‘FDA
    Approved’” (Id. at p. 21). The Amazon listings never stated that any PdG test was “FDA
    Approved,” and this was clear from the public listings. Further, Easy Healthcare ran out of
    MFB inventory in early 2019, and the public listings have stated that the product was
    “unavailable” since then, not that it was being sold.

   “Following MFB’s achievement of receiving its own FDA clearance for PdG tests in March
    2020, Easy Healthcare changed its Amazon listings to market Easy Healthcare branded tests
    as ‘FDA Cleared’ . . .” (Id. ¶ 46 (emphasis in original)). This allegation is baseless―Easy
    Healthcare listed the MFB product it sold as “FDA Cleared” as of 2019 and the listings were
    never changed to reflect any FDA status MFB achieved in 2020.

   “Easy Healthcare’s Wrongful Manufacture of PdG Products” (Id. at p. 21). Easy Healthcare
    is not a manufacturer and has never manufactured a PdG product. This is evident from the
    FDA’s publicly-available Establishment Registration & Device Listing Search Database,
    which lists Easy Healthcare as only a “Repackager/Relabeler,” not a manufacturer.

   “Easy Healthcare’s product development efforts of PdG Products led to the actual testing in
    2020 of Easy Healthcare branded PdG tests” (Id. ¶ 49). This is false―Easy Healthcare has
    never engaged in any “product development efforts” for competing PdG tests, and MFB has
    no evidence supporting its allegation.

   “Easy Healthcare’s Instructions for use . . . essentially mirror those provided by MFB to Easy
    Healthcare” (Id. ¶ 50). This appears to relate to instructions sent with the few free PdG samples
    Easy Healthcare sent on behalf of another manufacturer to a small group of users in 2020. This
    does not violate the Distribution Agreement and, as MFB is well aware, the instructions were
    not “provided by MFB,” but were created and finalized by Easy Healthcare.

   Defendant “wrongfully utilized MFB’s confidential, proprietary and trade secret information
    for the purpose of manufacturing a Competing Product for sale” (Id. ¶ 60). Easy Healthcare
    has not manufactured a competing product for sale, much less used any MFB
    confidential/proprietary information or trade secrets to do so. MFB has absolutely no evidence
    supporting this false allegation, as no such evidence exists.

   “Dr. Beckley . . . assisted Easy Healthcare with configuring its Easy App so that it could
    accurately read PdG tests supplied by MFB . . . along with the LH tests . . . sold by Easy
    Healthcare. Easy Healthcare incorporated the confidential and proprietary information
    provided by MFB into the Easy App” (Id. ¶ 53). As any reasonable investigation would have

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    revealed, Easy Healthcare incorporated no MFB information at all into the Easy App, much
    less any purported confidential or proprietary information. MFB included this false allegation
    to support MFB’s extortionary demand that Defendant be enjoined from using its own app.

   Finally, MFB contends that it conveyed trade secrets to Easy Healthcare, but none of the
    information MFB gave to Easy Healthcare (as a mere distributor) could conceivably be
    considered a trade secret. Indeed, most of the information is publicly available. Further, MFB
    claims it shared “[t]he dry powder dilution formula for the test calibration” with Easy
    Healthcare (Id. ¶ 33). As MFB knows, and as its counsel should have known after conducting
    a reasonable investigation, MFB never shared this formula with Defendant.

Not only do these allegations lack any evidentiary support, they are knowingly false and were

interposed for the improper purpose of preventing a potential competitor from entering the market.

         From just before Thanksgiving 2020 until New Year’s Eve, MFB’s counsel made

escalating threats (including threatening to sue Defendant’s CEO individually for fraud or

conversion) and demands, while dangling the possibility of relief from the onslaught if Easy

Healthcare agreed to extend its noncompetition obligations under the Distribution Agreement

beyond January 15, 2021. Then, almost immediately after filing the baseless Complaint, MFB

filed a motion for expedited discovery―hoping to fish for some evidentiary support for its claims.

         As required under Rule 11, on January 14, 2021, Defendant’s counsel sent MFB’s counsel

a letter setting forth the substance of this motion and requesting that he withdraw the wrongfully-

filed Complaint within 21 days. (Rule 11 Safe Harbor Letter attached as Exhibit 1.) In response,

MFB’s counsel: (a) refused to withdraw the knowingly false statements or provide any reasonable

evidentiary support for them; (b) wrongly argued that the Complaint could not have been filed for

an improper purpose if Defendant had no current plan to compete; and (c) suggested that the

Complaint would only be withdrawn if Defendant submitted to a three-year noncompetition

agreement and paid all of MFB’s attorneys’ fees incurred in this litigation (among other demands).

(Response to Rule 11 Safe Harbor Letter attached as Exhibit 2.) Then, incredibly, counsel doubled



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down by filing a Motion for Preliminary Injunction that repeated each of the above false statements

verbatim.1

II.      FACTUAL BACKGROUND

         A.       The Parties’ Distribution Agreement

         Easy Healthcare is a well-established online retailer of pregnancy and fertility-related

products, and distributes products (including ovulation testing products) from a variety of

manufacturers. It does not manufacture any products itself. Rather, it “white labels”―i.e., applies

its own brand and label to―products manufactured by others. Easy Healthcare’s status as a

“Repackager/Relabeler,” rather than a manufacturer, is a matter of public record.2

         Easy Healthcare developed an ovulation-related mobile application (the “Easy App”) in

early 2017. The Easy App educates women about fertility issues, assists them in tracking their

ovulation cycles and basal body temperatures, interprets test results for fertility-related products

sold by Easy Healthcare and others (the application is an open platform that allows users to upload

any brand of fertility test and input data related thereto), and directs users to relevant products sold

by Easy Healthcare. In March 2017, Easy Healthcare informed MFB that it was launching the app

and the parties exchanged a handful of emails about it. (MFB has falsely alleged that Easy

Healthcare used some MFB confidential information “to advance the development” of the app, but

has refused to identify any such information.)



1
  When MFB’s counsel alleged in the Complaint that Defendant continued to maintain Amazon listings for the PdG
products, only one of the two listings had been removed (as set forth below and as counsel was made aware at the
time, Amazon was having issues removing the other). By January 21, 2021, both listings had been removed.
Nevertheless, on February 2, 2021, MFB’s counsel filed the Motion for Preliminary Injunction falsely alleging that
Defendant “continues to violate the [now expired] non-compete by, among other things, maintaining Amazon listings
that misrepresent that it still has PdG products to sell.” (Dkt. No. 23, pp. 4, 28.)
2
  As a matter of law, businesses involved in the production and distribution of medical devices must register with the
FDA and specify the particular activity in which they are engaged for each device. Title 21 CFR Part 807.20. For
every product for which Easy Healthcare has submitted a “Device Registration and Listing” with the FDA, it is listed
solely as a “Repackager/Relabeler” and not a manufacturer. This information is easily found on the FDA’s website.

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         Also in early 2017, MFB approached Easy Healthcare about distributing MFB’s

progesterone (“PdG”) test kit (the “MFB-made PdG Kit”). On March 15, 2017, Easy Healthcare

and MFB entered into the Distribution Agreement and Easy Healthcare agreed to distribute MFB-

made PdG Kits.       The Distribution Agreement contained a non-competition provision that

prohibited Easy Healthcare from manufacturing or selling a competing PdG kit until January 15,

2021 (three years after the Distribution Agreement’s term ended).

         B.     Easy Healthcare distributed the MFB-made PdG Kits for a limited time and
                has sold no PdG kits of any type since early 2019

         For a limited time, Easy Healthcare distributed the MFB-made PdG Kits by posting links

to the product on Amazon (among other sales efforts). Easy Healthcare created and finalized the

instructions for the MFB-made PdG Kits and sold the kits under its Easy@Home label and brand.

During the period of distribution, the revenue from this product constituted less than 0.3% of Easy

Healthcare’s overall revenues.

         Because Easy Healthcare repackaged and distributed the MFB-made PdG Kits, it was

required to submit an “Establishment Registration & Device Listing” for the device with the FDA.

Easy Healthcare registered solely as a “Repackager/Relabeler” of this device. Readily-accessible

FDA records confirm that Easy Healthcare has never registered as a manufacturer of this or any

other progesterone test, as would be required if it manufactured any such products.

         The MFB-made PdG Kits that Easy Healthcare distributed are Class I devices exempt from

FDA premarket notification procedures. Therefore, the initial Amazon listing for the MFB-made

PdG Kits―posted in 2017―stated that the kits were “FDA Registered.” On one of the Amazon

listings, Easy Healthcare changed this language to “FDA Cleared” in early 2019. Easy Healthcare

never made any change to either Amazon listing after April 9, 2019. (Amazon listing information

page stating latest “Status Changed Date” for either listing was April 9, 2019, attached as Exhibit


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3.) Easy Healthcare never changed either listing to reflect any FDA status MFB achieved in 2020

and never listed any PdG test as “FDA Approved.” (MFB has falsely alleged that Easy Healthcare

changed these Amazon listings in 2020 to state “FDA Approved” in response to a new FDA status

MFB secured in 2020. This is verifiably false.)

         As a distributor of the MFB-made PdG Kits, Easy Healthcare did not request or receive

from MFB any confidential or proprietary information or trade secrets regarding the kits. Rather,

the information MFB shared with Easy Healthcare was sent via email and consisted almost entirely

of publicly available information. Since November 2020, MFB has consistently failed to identify

any particular confidential information or trade secrets it provided to Easy Healthcare. Worse,

MFB has falsely alleged that Easy Healthcare somehow incorporated some wholly-unidentified

confidential information into the Easy App - the core function of which was developed before the

Distribution Agreement was even executed.

         The Distribution Agreement’s term ended in January 2018. Easy Healthcare continued to

sell its remaining inventory of the MFB-made PdG Kits until MFB could no longer supply the

MFB-made PdG Kits to Easy Healthcare because of MFB’s own quality control issues. Easy

Healthcare sold its last MFB product in early 2019.3 Since that time, Easy Healthcare’s Amazon

listings for the product have stated that it is “unavailable.” (MFB falsely alleged that Defendant

“maintained these Amazon listings . . . to misrepresent that it had PdG products to sell . . . .”)

         Easy Healthcare has not sold any MFB-made PdG Kits since early 2019, and has not sold

or manufactured any competing PdG kits at any time. Indeed, Easy Healthcare’s only involvement

with PdG kits other than MFB’s was when it sent free samples of PdG kits to existing and

prospective customers on behalf of another manufacturer in November 2020. Easy Healthcare


3
 Depending on the listing, Easy Healthcare’s inventory of the MFB-made PdG Kits sold out either in or about
February, 2019 or in or about April, 2019.

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routinely receives such free samples and sends them to customers for evaluation. (MFB has falsely

alleged that Defendant developed these kits itself using MFB trade secrets.) The free PdG samples

included a “not for sale” designation and instructions similar to those Easy Healthcare created

when it distributed the MFB-made PdG Kits. (MFB has falsely alleged that it solely drafted the

instructions.)

         On January 15, 2021, the noncompetition agreement between Easy Healthcare and MFB

expired. Easy Healthcare is now free to distribute PdG kits for another seller, should it so choose.

         C.      Nearly three years after the Parties’ relationship ended, MFB resurfaced with
                 extra-contractual demands and threatened meritless litigation for the purpose
                 of keeping Easy Healthcare from lawfully competing with MFB

         MFB resurfaced nearly three years after the Parties’ relationship ended (and less than two

months before Easy Healthcare’s non-compete expired). On November 20, 2020, Easy Healthcare

received a Demand and Cease and Desist Letter (the “Demand Letter”) by email from MFB’s

counsel stating that MFB had “reason to believe that Easy Healthcare is planning to launch a

Competing Product before” the expiration of the non-compete period. (November 20, 2020 letter

attached as Exhibit 4.) Also without any basis, MFB’s counsel accused Easy Healthcare of

“wrongfully utilizing MFB’s confidential, proprietary and trade secret information for the purpose

of manufacturing and selling a Competing Product.” (Id. at 2.)

         On November 23, 2020, Easy Healthcare’s counsel responded that she would “revert on

substance shortly,” but was traveling the week of the Thanksgiving holiday. (November 23, 2020

email chain attached as Exhibit 5.) In response, MFB’s counsel threatened to “file an injunction

claim this week” [i.e., the week of Thanksgiving] unless Easy Healthcare re-committed to comply

with the Distribution Agreement, including the non-compete, and located and “return[ed]” 3-year

old emails from his client. (Id.)



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         On November 25, 2020, Easy Healthcare’s counsel provided a detailed response to the

Demand Letter, confirming that Easy Healthcare had not breached the Distribution Agreement and

would continue to comply with that agreement. (November 25, 2020 letter attached as Exhibit 6.)

She further noted that the only information Easy Healthcare received from MFB was sent through

emails, to which MFB has equal access. (Id. at 2-3.)

         MFB’s counsel refused to accept the very representations he had requested, threatened to

file a complaint “to restrain Easy Healthcare from selling a competing product,” threatened to file

a claim against Easy Healthcare’s CEO, “Sherry Liu, individually for fraud or conversion,” and

oddly demanded that Defendant both destroy and preserve MFB’s purportedly confidential

information in its possession. (November 30, 2020 - December 7, 2020 email chain attached as

Exhibit 7.) Easy Healthcare’s counsel repeatedly admonished MFB’s counsel against filing a

lawsuit in violation of the Parties’ arbitration agreement, offered to return information if MFB

would simply identify “what sensitive information is actually at issue” (none was ever identified),

and provided facts demonstrating that there was no basis for MFB’s allegations. (Id.)

         Despite multiple requests for the bases of MFB’s claims, MFB’s counsel failed to identify

any evidence that Defendant violated the Distribution Agreement or engaged in any wrongdoing.

In a phone call, MFB’s counsel stated that he was relying on “a feeling” that MFB had.

         D.     Easy Healthcare explained the nature of the Amazon links at issue, and made
                every effort to remove the defunct links at MFB’s request

         In addition to his client’s “feeling,” MFB’s counsel repeatedly pointed to defunct Amazon

links that Easy Healthcare had created for the MFB-made PdG Kits as MFB’s primary evidence

of Easy Healthcare’s wrongdoing. MFB’s counsel complained that the defunct Amazon links were

for a “competing product” that Easy Healthcare intended to offer. Easy Healthcare explained in

detail that the only Amazon links it ever created were for the MFB-made PdG Kits, not for a


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competing product, and that the links at issue have listed the product as “unavailable” since early

2019, when Easy Healthcare ran out of the MFB-made PdG Kits to distribute. MFB’s counsel did

not dispute the truth of these representations or offer any evidence to the contrary.

         Nevertheless, MFB’s counsel represented that removing the defunct listings for the MFB-

made PdG Kits would “go a long way toward” resolving MFB’s concerns. Counsel for MFB

originally cited one link that it wanted Easy Healthcare to remove (the “December 9 link”).

(December 9, 2020 email (without attachments) attached as Exhibit 8.4) Thereafter, counsel for

MFB indicated that there was another link that MFB wanted removed (the “December 17 link”).

(December 17, 2020 email attached as Exhibit 9.5)

         Despite being under no obligation to do so, Easy Healthcare contacted Amazon

immediately upon MFB’s first request and asked to have both historical Amazon links removed.

Amazon removed the December 9 link on or about December 15, 2020. Due to a glitch on

Amazon’s part that was out of Easy Healthcare’s control, the December 17 link was not removed

until January 11, 2021.6

         On December 18, 2020―nearly two weeks before the Complaint was filed―Easy

Healthcare sent MFB a letter that, among other things, informed MFB of Easy Healthcare’s efforts

to remove the links, including the Amazon glitch that left the December 17 link online. (December

18 letter attached as Exhibit 10.) As of January 21, 2021, both complained-of defunct Amazon

links for the MFB-made product had been removed―as counsel for MFB is aware. (Incredibly,



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  https://www.amazon.com/Easy-Home-Progesterone-Registered-Confirmation/dp/B074Q1526S
5
  https://www.amazon.com/dp/B073K4MR7P
6
  In an effort to get the links removed, Easy Healthcare created several “Amazon cases” and escalated the matter
multiple times. Amazon initially responded that, “[o]nce you create a product detail page, it will remain in the catalog
system for [sic] forever, and we do not have an option to delete the product detail page from the catalog system.”
Amazon noted, as long as the listing is not searchable and shows as “unavailable,” it is an inactive listing. Easy
Healthcare continued to pursue the removal of the defunct link anyway, and was ultimately able to convince Amazon
to remove it. Amazon noted that it had made a special accommodation here given the circumstances.

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counsel filed a Motion for Preliminary Injunction anyway, alleging that exactly the opposite was

true. (Dkt. No. 23, pp. 4, 18, 22, 28.)

         E.        MFB’s counsel made a final demand on Christmas Eve then filed suit on New
                   Year’s Eve

         Easy Healthcare’s December 18, 2020 letter directly and thoroughly addressed what Easy

Healthcare believed were MFB’s remaining questions and concerns, including the historical

Amazon links. (December 18 letter attached as Exhibit 10.) MFB’s counsel responded via email

on Christmas Eve―again refusing to respond to the substance of Easy Healthcare’s

correspondence (stating that he would not “respond in full right now”), failing to provide support

for any of MFB’s claims, and demanding that Easy Healthcare’s counsel “agree to return what has

been requested or confirm that [she was] refusing to do so. . .” by “3:00 p.m. Monday December

28, 2020”―one business day later. (December 24, 2020 email attached as Exhibit 11.)

         While Easy Healthcare was processing MFB’s latest unreasonable demand for information

MFB refused to identify, on December 31, 2020, MFB’s counsel notified Easy Healthcare’s

counsel via email that MFB would be filing a lawsuit against Easy Healthcare. (December 31,

2020 email attached as Exhibit 12.) MFB filed the lawsuit later that day, New Year’s Eve.

III.     LEGAL STANDARD

         “When Rule 11 is violated, the district court must impose sanctions against the offending

party.” Dubisky v. Owens, 849 F.2d 1034, 1036 (7th Cir. 1988). Rule 11 of the Federal Rules of

Civil Procedure provides, in pertinent part, that:

               “[b]y presenting to the court a pleading, written motion, or other paper—
               whether by signing, filing, submitting, or later advocating it—an attorney . .
               . certifies that to the best of the person’s knowledge, information and belief,
               formed after an inquiry reasonable under the circumstances . . . (1) it is not
               being presented for any improper purpose, such as to harass, cause
               unnecessary delay, or needlessly increase the cost of litigation . . . [and] . . .
               (3) the factual contentions have evidentiary support or, if specifically so


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               identified, will likely have evidentiary support after a reasonable opportunity
               for further investigation or discovery . . . .” Fed. R. Civ. P. 11(b).

         When a plaintiff invokes the “great power” of the federal courts in a civil case, “it puts

machinery in gear that can be powerful, intimidating, and often expensive.” N. Illinois Telecom,

Inc. v. PNC Bank, N.A., 850 F.3d 880, 883 (7th Cir. 2017). Rule 11 ensures that “those powers

and machinery are engaged only to address claims and defenses that have a reasonable basis in

fact and law and that are asserted only for a proper purpose.” Id. at 883-84; see Corley v. Rosewood

Care Ctr., Inc. of Peoria, 388 F.3d 990, 1013 (7th Cir. 2004) (explaining that Rule 11’s goal “is

to deter abusive litigation practices”); City of E. St. Louis v. Circuit Court for Twentieth Judicial

Circuit, St. Clair County, Ill., 986 F.2d 1142, 1144-45 (7th Cir. 1993) (affirming sanctions award

for filing a frivolous action for an improper purpose not reasonably based in law or fact and

designed to harass). To that end, Rule 11 imposes an affirmative duty on plaintiffs and their

counsel to conduct a pre-filing inquiry into the facts and law to support a claim. City of Livonia

Employees' Ret. Sys. v. Boeing Co., 306 F.R.D. 175, 180 (N.D. Ill. 2014) (imposing Rule 11

sanctions against counsel for failing to make reasonable factual inquiry) ; Gonzalez v. Dominick,

06 C 3961, 2009 WL 4730964, at *3 (N.D. Ill. Dec. 8, 2009) (imposing Rule 11 sanctions on

plaintiff for false statements made in connection with the preliminary injunction proceeding).

IV.      ARGUMENT

         MFB’s counsel has invoked the substantial powers and machinery of this Court against

Easy Healthcare without any reasonable evidentiary basis as a means to harass and bully Easy

Healthcare into refraining from lawful competition. The operative factual allegations in the

Complaint are false―and MFB’s counsel was advised of the falsity of most of those allegations

prior to filing the Complaint. Despite numerous requests, MFB’s counsel never identified any

evidence that would support the false allegations (indeed, there is none). The false claims are not


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merely a result of carelessness by counsel. Rather, they are a calculated effort to abuse the

litigation process for the improper purpose of keeping a competitor out of the market. Filing a

Complaint on such frivolous and improper grounds is sanctionable.

         A.     MFB’s counsel had no reasonable factual basis to file the Complaint and made
                factual allegations with no evidentiary support

         There is no evidentiary basis for the Complaint’s critical factual allegations, and indeed

they are false. Pursuing a lawsuit based on factual contentions lacking evidentiary support is a

manifest violation of Rule 11. See Fed. R. Civ. P. 11(b)(3); U.S. Bank Nat’l Ass’n, N.D. v.

Sullivan-Moore, 406 F.3d 465, 469-71 (7th Cir. 2005) (upholding Rule 11 sanctions award where

counsel pursued a lawsuit after learning that the pleading contained false contentions); Portman v.

Andrews, 249 F.R.D. 279, 282 (N.D. Ill. 2007) (explaining that “[a] court may impose sanctions

under Rule 11 if . . . a lawsuit is not well grounded in fact,” and that “[t]he inquiry is an objective

one: whether the party should have known that his position was groundless”) (citing CUNA Mut.

Ins. Co. v. Ofc. & Prof. Emps. Int’l Union, Local 39, 443 F.3d 556, 560 (7th Cir. 2006)).

         The operative allegations in the Complaint―that Easy Healthcare has wrongfully

manufactured a Competing Product and improperly used MFB’s purported trade secret

information―are entirely and unambiguously false. However, it is not only these conclusory

allegations that are false, but also the more specific factual allegations that purport to support them

(as set forth on pages 1-3 herein). MFB has never shared its trade secrets with Easy Healthcare,

contrary to its false allegation. Easy Healthcare has never maintained an Amazon listing for a

competing PdG product, contrary to MFB’s false allegation. MFB never assisted Easy Healthcare

in developing Easy Healthcare’s mobile application or provided any confidential information for

the application, contrary to MFB’s false allegations. Easy Healthcare, not MFB, created and

finalized the private label instructions that accompanied the MFB-made PdG Kits Easy Healthcare


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distributed, contrary to MFB’s false allegation. Easy Healthcare did not amend its Amazon listing

in 2020 to reflect MFB’s FDA status (or for any other reason), contrary to MFB’s false allegation.

Easy Healthcare did not continue to pay for advertising for PdG products after the remaining MFB-

made PdG Kits sold out in early 2019, contrary to MFB’s false allegation. Easy Healthcare did

not maintain Amazon listings stating that a PdG product was available for purchase after its

inventory of MFB-made PdG Kits ran out, contrary to MFB’s false allegation.

         The litany of false allegations in the Complaint are no accident. For many of the

allegations, MFB’s counsel did not simply fail to conduct a reasonable investigation, but rather

ignored publicly-available information and irrefutable evidence provided by Easy Healthcare.

Therefore, MFB’s counsel made knowingly false allegations that were directly contrary to

information received or available. MFB has not offered any evidence to counter Easy Healthcare’s

evidence or support MFB’s false allegations, despite multiple requests. Indeed, no such evidence

exists, and MFB in its response brief will be unable to identify any such evidentiary support.

         As discussed above, one of the most glaring examples of MBF’s counsel’s improper tactics

is his inclusion in the Complaint and subsequent filings of blatantly false information about the

Amazon links. MFB’s counsel was made aware that the Amazon links were defunct, were for the

MFB-made PdG Kits (not a competing product), and listed the product as “unavailable” since Easy

Healthcare’s MFB-made PdG Kit inventory ran out in early 2019. Moreover, as set forth above

and as MFB is aware, Easy Healthcare asked Amazon to remove the defunct links to the MFB-

made PdG Kits at MFB’s request prior to MFB filing this lawsuit and on MFB’s express

representation that the removal of the links would “go a long way toward” addressing MFB’s

concerns. Nevertheless, MFB included knowingly false allegations about these links in the

Complaint. Making these false allegations once constitutes sanctionable conduct under Rule 11.



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Yet, MFB’s counsel repeated the same false allegations in MFB’s Motion for Preliminary

Injunction - knowing that both Amazon links had been removed.

         B.      MFB’s counsel filed the Complaint to harass Easy Healthcare and keep a
                 potential competitor out of the market

         MFB’s counsel also violated Rule 11 because the Complaint was filed for the improper

purpose of harassing his client’s potential competitor and trying to keep Easy Healthcare out of

the market. Senese v. Chicago Area I.B. of T. Pension Fund, 237 F.3d 819, 826 (7th Cir. 2001)

(explaining that “Rule 11 may be violated when, even if the claims are well based in fact and law,

parties or their attorneys bring the action for an improper purpose”). This conclusion is supported

by MFB’s counsel’s conduct and demands leading up to the filing, as well as by the circumstances

and timing of that conduct. This action, which was initiated mere weeks before the expiration of

Defendant’s non-compete obligations, is clearly intended to keep Defendant from lawfully

competing with MFB and MFB’s counsel should be sanctioned for using the court system for this

improper purpose.7

         Indeed, before Easy Healthcare was even served with the Complaint, MFB’s counsel

threatened to file a motion for preliminary injunction and wrote that MFB would consider

“standing down” to give Easy Healthcare “breathing room” only if it agreed “to not sell a

competing product (after January 15, 2021)…” (January 6, 2021 email attached as Exhibit 13.)

MFB’s counsel knew that there was no factual basis for MFB’s Complaint, and therefore hoped

that improperly invoking the powerful machinery of this Court would convince Easy Healthcare

to agree to extend its non-compete in exchange for a reprieve from the harassment. Indeed, in


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  MFB’s counsel has responded to this argument as follows: “If your client had no intention of selling a competing
product, then how could MFB wrongfully be preventing it from doing so?” The answer is simple: with the expiration
of the non-compete, MFB was aware that Defendant could lawfully sell a competing product at any time, and therefore
filed the Complaint for the improper purpose of stifling that lawful competition. Whether or when Defendant actually
intended to distribute a competing product is entirely irrelevant to understanding MFB’s purpose.

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response to a Rule 11 “safe harbor” letter, counsel for MFB once again offered to end the

harassment only if Easy Healthcare agreed to a three-year non-compete that is broader than the

one the Parties entered into in 2017. (Exhibit 2.)

         Further, from the outset, MFB’s counsel has taken a bullying and harassing approach to

this matter, including issuing unilateral demands on extremely short time-frames and on holidays

and threatening to sue Easy Healthcare’s CEO, Sherry Liu, in her personal capacity for fraud or

conversion without basis. (E.g., Exhibits 5, 7, 11.) Within days of serving the Complaint, MFB’s

counsel also filed a motion for expedited discovery. (Dkt. No. 6.) This is further evidence that

MFB’s counsel recognized that he had no evidentiary support for MFB’s allegations, and hoped

to quickly gather such evidence with a fishing expedition through the records of MFB’s potential

competitor. The harassment by MFB’s counsel, designed to keep a competitor from lawfully

entering the market, is precisely the type of improper purpose that Rule 11 is intended to prevent.

         The fact that MFB filed the Complaint for an improper purpose, standing alone, is

sufficient grounds to impose sanctions upon MFB’s counsel. Combined with the knowing falsity

of the allegations, the imposition of sanctions is necessary.

III.     CONCLUSION

         Rule 11 serves a gatekeeping function to prevent counsel from abusing the great power and

machinery of this Court in the very fashion that MFB and its counsel have employed here. Because

MFB has brought claims that lack any evidentiary basis in an effort to gain a commercial

advantage, the Court should impose sanctions in an amount sufficient to reimburse the fees

Defendant has incurred in defending this frivolous litigation and should award such other relief as

it deems just and proper.




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Dated: February 15, 2021       Respectfully submitted,

                               By:           /s/ Abram I. Moore

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